Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 1 of 10 PageID: 122824




                                 Ashcraft & Gerel, LLP
                                                                        Attorneys & Counsellors at Law
     Established in 1953                                              Lee C. Ashcraft 1908 – 1993 | Martin E. Gerel 1918 – 2011




     December 16, 2020

     Hon. Joel A. Pisano (Ret.)
     Walsh Pizzi O’Reilly Falanga LLP
     Three Gateway Center
     100 Mulberry Street, 15th Floor
     Newark, NJ 07102

              RE: In Re: Johnson & Johnson Talcum Powder Products Marketing,
                  Sales Practices and Products Liability Litigation (MDL No. 2738)

                           Plaintiff’s Steering Committee Request for MDL Liability
                           Depositions

     Dear Judge Pisano:

             As you are aware, Chief Judge Wolfson’s Daubert ruling was issued on April
     27, 2020. Subsequent to that ruling, at the May 6, 2020 Status Conference, Chief
     Judge Wolfson directed the PSC to notify Counsel for the Johnson & Johnson
     (“J&J”) Defendants which corporate fact witnesses it wished to depose in the MDL.
     On August 7, 2020, the PSC informed Counsel that it wished to depose three J&J
     corporate fact witnesses as well as take several 30(b)(6) depositions on four specific
     liability issues.1 Importantly, none of the witnesses requested by the PSC for
     deposition have been previously deposed in a talc-ovarian cancer case, state or
     federal. In a response letter dated September 22, 2020, Counsel for J&J informed
     1
       See Letter from PSC to Susan Sharko, Esq, August 6, 2020 [Exhibit 1]. These
     witnesses are Michael Chudkowski, PhD, JiJo Janes, MD and Helen Han Hsu. In
     addition, the PSC requested four (4) depositions under Rule 30(b)(6) including
     witnesses on Risk and Mitigation Policies, Procedures and Committees for cosmetic
     products, Marketing and Adverting and Sales. For a further description of these
     witnesses, see infra at page 5.

        Baltimore                      Fairfax                Landover                Silver Spring          Washington D.C.
  120 East Baltimore St.    8280 Willow Oaks Corp. Dr.   4301 Garden City Dr.     8403 Colesville Rd.       1825 K Street, NW
       Suite 1802                     Suite 600               Suite 301                Suite 1250               Suite 700
  Baltimore, MD 21202            Fairfax, VA 22031       Landover, MD 20785     Silver Spring, MD 20910   Washington, D.C., 20006
Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 2 of 10 PageID: 122825

    Hon. Judge Pisano (Ret.)
    December 16, 2020
    Page 2

    the PSC that J&J declined to produce any of the requested witnesses.2 At the
    November 17, 2020 Status Conference, the parties raised this issue to Chief Judge
    Wolfson and were directed to bring it to you for resolution.3

           As an initial matter, it should be noted that the PSC’s request for MDL liability
    depositions at this juncture is timely. In January 2018, the PSC initially requested
    the opportunity to depose these and other J&J employees.4 J&J opposed the PSC’s
    request because the Court had bifurcated these proceedings, deciding to consider
    Daubert challenges related to general causation first. 5 In its February 16, 2020
    Order, this Court agreed that J&J corporate fact witness testimony was not necessary
    “at this [general causation] stage” (emphasis added).6 However, in so finding, Chief
    Judge Wolfson noted that the PSC may be entitled to obtain testimony from J&J
    corporate witnesses if the case “eventually moves” from Daubert proceedings and
    “into fact discovery.” 7 As the Court noted, “We will cross that bridge when we
    come to it.”

           We are now at that bridge. This MDL has now moved from the general
    causation phase to the liability discovery and case-specific causation phase. Even
    though general causation legal issues have been resolved, J&J continues to resist
    PSC’s request to question its employees under oath about their conduct relating to
    talc and ovarian cancer over the decades. J&J asserts that taking testimony from its
    corporate fact witnesses at this time in this federal ovarian cancer MDL is duplicative
    and unduly burdensome, stating that: 1) it has produced other witnesses in individual
    state court cases, mostly in mesothelioma cases where ovarian cancer was not even


    2
        See Letter from Susan Sharko to PSC, September 22, 2020 [Exhibit 2].
    3
      In addition to the six J&J depositions that the PSC requested in the MDL, the PSC
    informed the Court of its intent to cross-notice J&J corporate depositions that are
    being scheduled in state court proceedings. The PSC may also preserve 3rd party
    testimony for use at trial and for use in remanded cases. See Status Conference
    Report (Doc. 15681) at Section II, p. 2-3 [Exhibit 3].
    4
        PSC Preliminary Disclosure of Potential Deponents (January 10, 2018) [Exhibit 4].
    5
        Order, February 6, 2018 (Doc. 4173) [Exhibit 5].
    6
        Id. at p. 1-2.
    7
        Id. at p. 3, n3.
Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 3 of 10 PageID: 122826

    Hon. Judge Pisano (Ret.)
    December 16, 2020
    Page 3

    an issue and before it made a full document production; and 2) it is burdensome and
    duplicative because it has now produced “over 2 million pages of documents.”

           To be blunt, J&J’s “burdensome” and “duplicative” objections are nothing
    more than an effort to prevent the PSC from presenting to the jury the damning story
    of J&J’s decade’s long indifference to women who used Johnson’s talcum powder
    products for feminine hygiene. Through J&J’s own witnesses, the PSC will show
    that J&J marketed Johnson’s Baby Powder and Shower-to-Shower products as safe
    and pure despite knowing for decades that these iconic products may pose a deadly
    safety hazard to women.

        Contrary to any suggestion made by J&J, it is undisputed that:

        • None of the liability testimony sought from the requested J&J corporate
          witnesses could have been set in this MDL before the Court’s Daubert ruling
          because of the Court’s discovery bifurcation Order. Therefore, the requested
          depositions are timely.

        • None of the requested J&J corporate witnesses have been deposed in a state
          or federal ovarian cancer case (or mesothelioma case). Therefore, the
          requested depositions are not duplicative.

        • None of the requested J&J corporate witness deposition will interfere with
          the timing of any MDL Bellwether trial or any remand of any federal case.
          Therefore, the requested depositions are not burdensome.

        • The vast majority of all of the J&J corporate witness depositions, that have
          been taken outside of this MDL, were taken in talc-induced mesothelioma
          cases where J&J’s knowledge of, and actions, regarding talc-induced
          ovarian cancer was not an issue. Therefore, the requested depositions are
          not cumulative.

        • The vast majority of the state court J&J corporate witness depositions that
          have been taken outside this MDL occurred before 2018, when J&J had
          produced only about 25% of the documents it has since produced in this
          MDL. Therefore, new subject matter exists.
Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 4 of 10 PageID: 122827

    Hon. Judge Pisano (Ret.)
    December 16, 2020
    Page 4

          For the reasons outlined above, and as set forth below in more detail, J&J
    should be required to produce the requested corporate witnesses for deposition in the
    MDL.8

          1.     The Court’s Bifurcation Order Prohibited the PSC from Taking
                 Testimony On Important Liability Questions Before April 2020.

          As the Court noted in its February 6, 2018 Order: “In previous case
    management conferences, the [Chief Judge Wolfson] has called for staging of
    discovery with the initial focus on the area of general causation.”9 The Court further
    noted, the PSC has “not established a need [for them] at this stage.”10

           As a consequence of that bifurcation, the PSC was prohibited from taking
    testimony from any of the thirty (30) J&J corporate fact witnesses that it initially
    sought. Rather, the PSC was permitted to take only 30(b)(6) testimony from J&J
    witnesses “limited to [4] subjects” which “may be necessary, prior to completion of
    plaintiffs’ causation expert reports.”11 As defined by the February 6th Order, the four
    (4) discrete 30(b)(6) categories relating to general causation included: “1)
    composition of the products; 2) testing of the products by the defendants; 3)
    sampling of the products by defendants; and 4) any influence or bias in the published
    literature caused by Defendants.”12




    8
      The PSC is aware of various corporate fact depositions that are being scheduled
    and conducted in various state courts in St. Louis, Missouri and Broward County,
    Florida. These depositions are being scheduled in the first half of 2021. In an effort
    to further streamline discovery, the PSC will cross-notice these depositions in this
    MDL.
    9
     See, recommendation and Order Feb. 6, 2018 (Doc. 4173) (Pisano, J) (“Feb. 6
    Order”) [Exhibit 5]; The list of the 30 J&J witnesses is in the pleading entitled THE
    PLAINTIFF STEERING COMMITTEE’S INITIAL DISCLOSURE
    POTENTIAL DEPONENTS (January 10, 2018) [Exhibit 4]
    10
         Feb. 6, 2018 Order at p. 4 (emphasis added).
    11
         Id. at p. 3-4.
    12
         Id.
Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 5 of 10 PageID: 122828

    Hon. Judge Pisano (Ret.)
    December 16, 2020
    Page 5

          Notably, J&J was adamant that the PSC be prevented from taking any
    testimony of any individual J&J corporate employees on any key liability question.
    As a result, the PSC was prevented from taking the testimony of any individual J&J
    corporate fact witness on the following topics relevant to J&J’s liability:

          • The knowledge of J&J executives about the potential risk of ovarian cancer
            with this ubiquitous cosmetic product and when they specifically knew of
            that potential risk; 13
          • The options available at different times to mitigate the potential risk of
            ovarian cancer, including warnings and instructions to women about the
            genital use of talcum powder products and the availability of safer alternative
            formulations like cornstarch;
          • J&J’s marketing of this iconic product for decades to consumers as safe and
            pure;
          • J&J’s communications over the years with regulatory and quasi-regulatory
            bodies about the potential risks of ovarian cancer and the availability of risk
            mitigation measures;
          • J&J’s collusion with other talc manufacturers to prevent any warnings to
            consumers regarding the risks of cosmetic talc use;
          • J&J’s decision not to reformulate its talcum powder products with cornstarch;
            and
          • J&J’s failure to conduct its own studies regarding the safety of its talcum
            powder products.

           In limiting the PSC to only 30(b)(6) witnesses on specifically identified topics
    in the first stage of these bifurcated proceedings, the Court was cognizant that
    additional fact testimony from J&J employees might be important later in the second
    stage.14 Thus, while scientific admissions by J&J employees were off-the table

    13
       Unlike a pharmaceutical drug, the FDA cannot not require that the manufacturer
    of a cosmetic submit labeling before the product is marketed. Cosmetics do not have
    to undergo review or approval before marketing and safety information need not be
    submitted by the manufacturer. See https://www.fda.gov/cosmetics/cosmetic-
    ingredients/talc. The duty to ensure safety is wholly the responsibility of the
    manufacturer      [https://www.fda.gov/cosmetics/cosmetics-laws-regulations/fda-
    authority-over-cosmetics-how-cosmetics-are-not-fda-approved-are-fda-regulated].
    14
         Feb. 6 Order, n.3 [Exhibit 5].
Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 6 of 10 PageID: 122829

    Hon. Judge Pisano (Ret.)
    December 16, 2020
    Page 6

    during the Daubert phase of these bifurcated proceedings, the Court recognized that
    such testimony would be important if the case were to proceed to a jury trial on the
    merits. As Chief Judge Wolfson explained when recommending against the taking
    of J&J corporate fact witness depositions in the Daubert phase of this case:

              “I understand why you think that [admissions on the state of the science
              by individual J&J employees] will bolster your case---if you believe
              that there are admissions. But that does not go to what your own experts
              will be opining upon based on their own review of what the science was
              at the time and over these years in this area regardless of whether they
              admit it or not. That’s great for trial, to put that before a jury: Look
              they admitted there was a problem here. I understand that. But for
              your experts to opine, they have to independently and their opinions
              stand on their own as to what they are relying on for the science.”15

         2.      None of the PSC’s Requested Witnesses Have Testified in any Talc
                 Case, State of Federal.

              a) The Fact Witnesses: Chudkowski, James and Han Hsu:

                    It is undisputed that no plaintiff in any talc case (state or federal, ovarian
              cancer or mesothelioma) has ever taken the deposition of Chudkowski, Han
              Hsu or James. A brief summary of the relevance and importance of these
              three witnesses is as follows:

                 • Michael Chudkowski, PhD was J&J’s Director of Product Safety until
                   2001, a timeframe when plaintiffs believe that consumers should have
                   been protected from the potential risks of talcum powder. He has never
                   been deposed. Plaintiffs believe he has knowledge of critical decision
                   making regarding emerging evidence of talc-associated ovarian cancer
                   and how J&J reacted to that evidence. Despite his involvement, J&J
                   claims that “there is nothing to be gained,” because he would have to
                   recall events “that took place twenty or more years ago.”16 Plaintiffs are
                   entitled to test his memory of these decisions.

    15
       See Status Conference Transcript (Doc. 3667), p. 20:11-25 (emphasis added)
    [Exhibit 6].
    16
       Exhibit 2, p. 3.
Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 7 of 10 PageID: 122830

    Hon. Judge Pisano (Ret.)
    December 16, 2020
    Page 7


             • Jijo James, MD was JJCI’s Chief Medical Officer in charge of
               Johnson’s Baby Powder through 2017. J&J contends it does not have
               to produce him since it previously produced his subordinate, Susan
               Nicholson, MD, as a witness. He has never been deposed. Plaintiffs
               are entitled to elicit evidence from the superior (Dr. James) and not the
               subordinate (Dr. Nicholson) on issues known to him.

             • Helen Han Hsu, PhD was a Vice President and Head of Drug Safety
               Sciences at JJCI. In that capacity, she coordinated J&J’s response to
               the National Toxicology Program (NTP), a quasi-regulatory agency.
               Though the NTP had initially voted to list talc as a carcinogen in the
               early 2000’s, Helen Han Hsu was instrumental in derailing that listing.
               She has never been deposed. Plaintiffs are entitled to question her on
               what transpired and led to NTP’s ultimate decision.

          b) 30(b)(6) Witnesses on Risk Assessment and Mitigation Policies,
             Marketing and Sales:
          Nor have any of the requested 30(b)(6) depositions been taken in any
    ovarian cancer case, state of federal. The subject matters upon which Plaintiffs
    expect them to testify are:

             • Policies and Procedures for Risk Assessment and Risk Mitigation:
               While J&J contends that it has produced witnesses to testify to the
               “state of the science” during the Daubert phase, there is no question
               that it has not produced testimony as to what its policies and procedures
               were and what its safety committees did (or did not do) to assess risk
               and take measures to protect the public from the potential risk of cancer.

             • 30(b)(6) Witnesses on Marketing: Johnson’s talcum powder products
               were iconic products that were marketed to consumers, and in particular
               women, as pure and safe. While J&J contends that “colleagues” in a
               mesothelioma case took such a deposition, it is undisputed that no
               plaintiff in any ovarian cancer case (state or federal) has taken such
               testimony from a J&J witness for use in an ovarian cancer trial.
Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 8 of 10 PageID: 122831

    Hon. Judge Pisano (Ret.)
    December 16, 2020
    Page 8

              • 30(b)(6) Witnesses on Sales: It is undisputed that no J&J witness has
                previously testified on sales.

       3.     The J&J Witness Requested Testimony is Not Duplicative since None
              of the Witnesses have been Deposed in any Other Ovarian Cancer
              Case, State or Federal, and the Subject Matter will be Liability Not
              General Causation.

          J&J contends that the testimony plaintiffs seek in the post-Daubert phase are
    duplicative.

            The causation question, however—whether talcum powder products can
    cause ovarian cancer—is just one element of what the PSC must prove. The PSC
    must also establish that J&J is liable for a plaintiff’s injuries. Central to that liability
    question is when J&J became aware that its talcum powder products may be
    associated with the risk of ovarian cancer, whether there were mitigation steps that
    J&J failed to take in the face of those potential risks, and whether J&J misled
    consumers about the safety and purity of its talc. J&J conflates what Plaintiffs must
    show for general causation with what it can show to demonstrate liability under
    negligence, strict liability, and punitive damage laws. In making its liability claims,
    it is important to emphasize that Plaintiffs’ liability burden of proof is not coexistent
    with their burden to establish causation. For example, the Food Drug and Cosmetic
    Act makes clear that a cosmetic manufacturer must provide consumers with
    warnings and instructions when there is a potential risk of harm even before
    causation is established. Thus, for example, CFR § 740.1(a), regarding the
    Establishment of Warning Statements for Cosmetics, provides that:

                  The label of a cosmetic product shall bear a warning whenever
                  necessary or appropriate to prevent a health hazard that may be
                  associated with the product. (Emphasis Added).

            The parties’ exclusive focus on the general causation question in the Daubert
    phase of these bifurcated MDL proceedings forced the parties to focus solely and
    exclusively on whether causation can be established as of today. In other words,
    the focus was not when ovarian cancer (a “health hazard”) “may” have been
    “associated” with its talcum powders such that J&J should have taken steps to
    prevent it. The testimony that the PSC now seeks is intended to create that record,
    i.e., to support the Plaintiffs’ claims that it was “appropriate and necessary” to take
Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 9 of 10 PageID: 122832

    Hon. Judge Pisano (Ret.)
    December 16, 2020
    Page 9

    action decades before 2020 because it was known decades ago that ovarian cancer
    “may be associated with the product.”

           While J&J’s opposition to the PSC’s 30(b)(6) depositions on risk assessment
    and mitigation committees and policies is predicted on the suggestion that these
    areas were covered by the PSC’s 30(b)(6) depositions of Dr. John Hopkins
    (designated on talc testing methods) and Dr. Susan Nicholson (designated on bias in
    studies), even a cursory examination of their depositions reveal that they were not.
    In this regard, it is notable that neither were even employed by J&J between 1999 –
    2015, the timeframe when the evidence of ovarian cancer risk was mounting. Dr.
    Hopkins left J&J’s employment in 1999. Dr. Nicholson did not have professional
    responsibilities related to Johnson’s Baby Powder until 2015.17 Moreover, the words
    “ovarian cancer” was mentioned only 7 times in the 2 days of Dr. Hopkin’s
    deposition and only 81 times in Dr. Nicholson’s 2 days of testimony whole the terms
    “safety Committee.” “Policies” or” SOP” appeared a total of 3 times in their
    combined 4 days of testimony.

         4.   The Fact that J&J Recently Produced “over 2 million pages of
              documents” Should Not Preclude the PSC from Taking Testimony of
              the Requested J&J Witnesses.

           J&J further resists the PSC’s taking of corporate witness depositions because
    it has now produced “more than 2 million pages of documents.”

           Initially, it is axiomatic that the Federal Rules of Civil Procedure permit
    parties to take testimony from a party from whom documents are produced. Just as
    a plaintiff cannot prevent J&J from taking her deposition because she has produced
    volumes of medical, financial and other records, J&J cannot prevent the plaintiff
    from deposing witnesses about the documents it has produced. Both testimony and
    documents are important components of a jury trial.

          Moreover, and as Your Honor is well aware, the total number of pages
    produced by J&J in the state court ovarian cancer cases and in this MDL has only
    recently become “more than 2 million pages.” Until April 2017, J&J’s document
    production in ovarian cancer cases stood at 500,000 pages – only a quarter of what

    17
      See T. 3443-3444, Daniels v. Johnson & Johnson, et al., Cause No. 1422-
    CC09326-01, Cir. Court of City of St. Louis, Missouri (Feb. 24, 2017) [Exhibit 7].
Case 3:16-md-02738-MAS-RLS Document 16105 Filed 12/16/20 Page 10 of 10 PageID:
                                 122833
 Hon. Judge Pisano (Ret.)
 December 16, 2020
 Page 10

 has now been produced in 2020,18 Only after this Court entered CMO 9 in September
 2017 and held a conference in October 2017 did J&J produce the bulk of its
 documents in earnest. It is believed that the vast majority of state court corporate
 depositions upon which J&J relies occurred before 2017, prior to J&J’s production
 of approximately 75% of the documents now produced in the MDL.

       J&J’s argument liability depositions should not proceed because the company
 has produced documents in nonsensical and unavailing.

       5.     The Depositions Sought By The PSC Can Be Accomplished Before a
              MDL Bellwether Trial.

        At this time, no bellwether case has been selected and no date has been set for
 the first Bellwether trial. Indeed, case-specific discovery has only just begun.

       There is more than adequate time for the parties to complete these J&J
 corporate witness depositions in this MDL and, if the parties cooperate in
 scheduling, there should be no undue burden on any party in completing these
 depositions in the first half of 2021.

            CONCLUSION

       The PSC respectfully requests that it be permitted to take the liability
 depositions of J&J witnesses that are the subject of this letter during the first half of
 2021.

                                     Respectfully submitted,

                 /s/ Michelle A. Parfitt               /s/ P. Leigh O'Dell
                 Michelle A. Parfitt                   P. Leigh O'Dell

 cc:        Hon. Freda L. Wolfson, Chief Judge (via ECF and Courtesy Copy)
            All counsel of record (via ECF)



 18
   See Plaintiffs’ Steering Committee’s Initial Disclosure of Potential Deponents
 (Jan. 10, 2018) [Exhibit 4].
